          1:16-bk-14945 Doc#: 141 Filed: 08/25/18 Entered: 08/25/18 23:39:20 Page 1 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Arkansas
In re:                                                                                                     Case No. 16-14945-pmj
Mindy Kay Sloan                                                                                            Chapter 12
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0860-1                  User: annette                      Page 1 of 1                          Date Rcvd: Aug 23, 2018
                                      Form ID: pdf08Ac                   Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 25, 2018.
db              Mindy Kay Sloan,   3640 Luber Rd,   Mountain View, AR 72560-8236
intp            Attorney General of the US,   Dept of Justice,   950 Pennsylvania Ave. N.W.,   Room 4400,
                 Washington, DC 20530-0001
intp           +U.S. Attorney,   P.O. Box 1229,   Little Rock, AR 72203-1229

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 25, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 23, 2018 at the address(es) listed below:
              David G. Nixon    on behalf of Debtor Mindy Kay Sloan david@nixonlaw.com, kelly@nixonlaw.com,
               jill@nixonlaw.com
              Renee Williams     rwilliamstrustee@gmail.com,
               rwilliamstrs12@gmail.com;rwilliams12@cablelynx.com;ricksrg@gmail.com;lesliejot@gmail.com
              Ryan J. Caststeel    on behalf of Creditor   Stone Bank rcaststeel@hopkinslawfirm.com,
               across@hopkinslawfirm.com
              Theresa Louise Pockrus    on behalf of Debtor Mindy Kay Sloan theresa@nixonlaw.com,
               kelly@nixonlaw.com;jill@nixonlaw.com
              U.S. Trustee (ust)    USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                             TOTAL: 5
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